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                                                                          FILED: June 9, 2025

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                     ___________________

                                          No. 25-1397
                                     (5:24-cv-00731-M-RJ)
                                     ___________________

        JUDGE JEFFERSON GRIFFIN

                     Plaintiff - Appellee

        v.

        ALLISON RIGGS

                     Intervenor - Appellant

        and

        NORTH CAROLINA STATE BOARD OF ELECTIONS

                     Defendant - Appellee

        and

        NORTH CAROLINA ALLIANCE FOR RETIRED AMERICANS; VOTEVETS
        ACTION FUND; TANYA WEBSTER-DURHAM; SARAH SMITH; JUANITA
        ANDERSON

                     Intervenors




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                                           No. 25-1398
                                      (5:24-cv-00731-M-RJ)
                                      ___________________

        JUDGE JEFFERSON GRIFFIN

                      Plaintiff - Appellee

        v.

        VOTEVETS ACTION FUND; NORTH CAROLINA ALLIANCE FOR
        RETIRED AMERICANS; SARAH SMITH; JUANITA ANDERSON

                      Intervenors - Appellants

        and

        NORTH CAROLINA STATE BOARD OF ELECTIONS

                      Defendant - Appellee

         and

        ALLISON RIGGS; TANYA WEBSTER-DURHAM

                      Intervenors

                                      ___________________

                                           ORDER
                                      ___________________

               The court deconsolidates further proceedings on appeal in these cases.

                                                 For the Court--By Direction

                                                 /s/ Nwamaka Anowi, Clerk




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